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 California Coalition for Women Prisoners et al. .v United States of America Federal Bureau of Prisons et
                                   ai, Case Number (4:23-CV-04155'YGR)


                      California Coalition for Women Prisoners

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February 6, 2025

Dear Judge Gonzalez Rogers,

We write on behalf of the California Coalition for Women Prisoners (CCWP), the
organizational plaintiff in Case No. 4:23-cv-04155-YGR. CCWP is a member of the Dublin
Prison Solidarity Coalition, an alliance of dozens of currently and formerly incarcerated
survivors of PCI Dublin staff abuse, community organizations, and advocates. We are
grateful for the steps that the Court and the Special Master/Monitor have taken to safeguard
the rights of people formerly incarcerated at Dublin and to hold the Federal Bureau of
Prisons (BOP) accountable. Our coalition remains in close contact with at least 100 people
who were forcibly transferred from Dublin following the BOP's abrupt closure of the facility in
April 2024. We continue to receive alarming reports of ongoing abuse, retaliation, and
medical neglect against people transferred from Dublin, and we remain very worried about
their safety and wellbeing.

We welcome the proposed Consent Decree. We are grateful to the advocates, including
incarcerated coalition members, who worked tirelessly to negotiate this potential settlement.
We urge the Court to approve—and just as importantly, enforce—an agreement that will
provide for ongoing monitoring, protections, and resources for survivors of FCI Dublin. We
also have critical concerns from coalition members about potential gaps in the Consent
Decree, especially in light of the BOP's proven inability to protect and care for people in its
custody.

   1. Scope

We have heard from a number of people who should benefit from the protections of this
Consent Decree who were transferred away from the facility before March 2024, including
survivors and witnesses of Dublin staff sexual abuse who reported abuse to federal
investigators and/or filed civil lawsuits based on abuse, as well as people who suffered
extreme medical neglect at the facility and still have not gotten the care they require. We
urge the Court to ensure that the Consent Decree—and Its enforcement—apply to
everyone who was at the facility when the lawsuit was filed in August 2023, as well as
all survivors of Dublin staff sexual abuse, retaliation, and medical neglect who
remain in BOP custody.

Coalition members have experienced and reported staff misconduct and neglect at Federal
Transfer Centers (FTCs) and BOP contract facilities, and in halfway houses. We are
concerned that the full weight of the Consent Decree does not apply to people who are
legally in BOP custody, but are not held in BOP prisons. All provisions of the Consent
Decree should apply
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